¥ DAMIAN MONTALVO

United States District Court
Southern District of Texas
UNITED STATES DISTRICT COURT APR 2 0 2010
UNSEALED = courTHERN DISTRICT OF TEXAS
U4 _ 43-10 McALLEN DIVISION David J, Bradley, Clerk

UNITED STATES OF AMERICA
v. Criminal No. M-09-1543-S1

AMADO MOLINA, JR.

Lr LP Lh ST Lh LA

SEALED SUPERSEDING INDICTMENT

' THE GRAND JURY CHARGES:

Count One
From on or about January 1, 2006 to on or about June 5, 2006, in the Southern District of
Texas and within the jurisdiction of the Court, defendants
AMADO MOLINA, JR.
and
DAMIAN MONTALVO
did knowingly and intentionally conspire and agree together and with other person or persons known
and unknown to the Grand Jurors to knowingly and intentionally import into the United States of
America from the United Mexican States a controlled substance. The controlled substances involved
were more than 5 kilograms of cocaine, a Schedule II controlled substance and more than 1,000
kilograms of marijuana, a Schedule I controlled substance.
In violation of Title 21, United States Code, Sections 963, 952(a), 960(b)(1)(B), and
960(b)(1)(G).
Count Two
From on or about January 1, 2006 to on or about June 5, 2006, in the Southern District of

Texas and within the jurisdiction of the Court, defendants

2.
AMADO MOLINA, JR.
and
DAMIAN MONTALVO
did knowingly and intentionally conspire and agree together and with other person or persons known
and unknown to the Grand Jurors to knowingly and intentionally possess with intent to distribute a
controlled substance. The controlled substances involved were more than 5 kilograms of cocaine,
a Schedule II controlled substance and more than 1,000 kilograms of marijuana, a Schedule I
controlled substance.
In violation of Title 21, United States Code, Sections 846, 841(a)(1), 841(b)(1)(A)(ii), and
841(b)(1)(A)(vi).
Count Three
On or about June 5, 2006, in the Southern District of Texas, and within the jurisdiction of
the court, defendants
AMADO MOLINA, JR.
and
DAMIAN MONTALVO
did knowingly and intentionally import into the United States of America from the United Mexican
States a controlled substance. The controlled substance involved was more than 5 kilograms, that
is, approximately 468 kilograms of cocaine, a Schedule II controlled substance.
In violation of Title 21, United States Code, Sections 952(a), 960(b)(1)(B), and Title 18,
United States Code, Section 2.
Count Four

On or about June 5, 2006, in the Southern District of Texas, and within the jurisdiction of

the court, defendants
AMADO MOLINA, JR.
and
DAMIAN MONTALVO
did knowingly and intentionally import into the United States of America from the United Mexican
States a controlled substance. The controlled substance involved was more than 1,000 kilograms,
that is, approximately 1,973 kilograms of marijuana, a Schedule I controlled substance.
In violation of Title 21, United States Code, Sections 952(a), 960(b)(1)(G), and Title 18,
United States Code, Section 2.
Count Five
On or about June 5, 2006, in the Southern District of Texas, and within the jurisdiction of
the court, defendants
AMADO MOLINA, JR.
and
. DAMIAN MONTALVO
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 5 kilograms, that is, approximately 468 kilograms of :
cocaine, a Schedule II controlled substance.
In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)(ii), and Title
18, United States Code, Section 2.
Count Six
On or about June 5, 2006, in the Southern District of Texas, and within the jurisdiction of
the court, defendants
AMADO MOLINA, JR.
and

DAMIAN MONTALVO

did knowingly and intentionally posses with intent to distribute a controlled substance. The
controlled substance involved was more than 1,000 kilograms, that is, approximately 1,973
kilograms of marijuana, a Schedule I controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)(vii), and Title
18, United States Code, Section 2.

A TRUE BILL

FOREPERSON \ ~

JOSE ANGEL MORENO
UNITED STATES ATTORNEY

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‘ASSISTANT UNITED STATES ATTORNEY

 
 

 
